Case 9:24-cv-00085-MJT   Document 19-15   Filed 07/24/24   Page 1 of 5 PageID #:
                                    289




                                                                    EXHIBIT 14
Case 9:24-cv-00085-MJT   Document 19-15   Filed 07/24/24   Page 2 of 5 PageID #:
                                    290




                                                                    EXHIBIT 14
Case 9:24-cv-00085-MJT   Document 19-15   Filed 07/24/24   Page 3 of 5 PageID #:
                                    291




                                                                    EXHIBIT 14
Case 9:24-cv-00085-MJT   Document 19-15   Filed 07/24/24   Page 4 of 5 PageID #:
                                    292




                                                                    EXHIBIT 14
Case 9:24-cv-00085-MJT   Document 19-15   Filed 07/24/24   Page 5 of 5 PageID #:
                                    293




                                                                    EXHIBIT 14
